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Attorney for Defendant


               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA



G.A.W.,                                      Case No. 3:13-cv-00218 RRB

                  Plaintiff,

      v.                                     NOTICE OF SETTLEMENT

UNITED STATES OF AMERICA,

                  Defendant.

      The United States, via counsel, notifies the Court that the parties have

reached a negotiated settlement of the claims in this action. A Stipulation for

Dismissal with a proposed Order will be filed within 30 days.




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        RESPECTFULLY SUBMITTED on July 16, 2015.
                                           KAREN L. LOEFFLER
                                           United States Attorney


                                           s/Gary M. Guarino
                                           Assistant U.S. Attorney
                                           Attorney for the Defendant

CERTIFICATE OF SERVICE

I hereby certify that on July 16, 2015,
a copy of the foregoing was served on:

Kenneth A. Norsworthy, Esq.

s/ Gary M. Guarino




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Case No. 3:13-cv-00218-RRB                 2


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